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                 MDL 2179 Transfer Order and Conditional Transfer Order Status

Order Number          Date Issued      Number of         Status of Order      Notes
                                       Cases Included

1                     8/24/10          26 cases          Became final on      Includes cases
                                       conditionally     9/8/10               from N. Cal., S.
                                       transferred                            Fla., N. Ga., S.
                                                                              Ga., E. Ky., W.
                                                                              Ky, , M. La., W.
                                                                              La, E. Tenn., M.
                                                                              Tenn., and E.
                                                                              Va.

2                     8/31/10          45 cases          Order became         Includes cases
                                       conditionally     final as to 44       from M. Fla., N.
                                       transferred       cases on             Fla., S. Fla., E.
                                                         September 14,        Tex., S. Tex.,
                                                         2010. Order          and E. Va.
                                                         final as to 1 case
                                                         on 11/30/2010.

3                     9/2/10           33 cases          Order became         Includes cases
                                       conditionally     final as to 31       from S. Tex.
                                       transferred       cases on
                                                         September 16,
                                                         2010. Order
                                                         became final as
                                                         to 2 cases on
                                                         11/30/2010.

4                     9/8/10           38 cases          Became final on      Includes cases
                                       conditionally     9/22/2010            from M. Ala., S.
                                       transferred                            Ala., S. Miss., D.
                                                                              S.C., and E. Tex.

5                     10/27/10         58 cases          Order became         Includes cases
                                       conditionally     final as to 51       from M. Ala., S.
                                       transferred       cases on             Ala., Del., N.
                                                         November 4,          Fla., S. Fla., S.
                                                         2010. Order          Ind., W. La., S.
                                                         final as to          Miss., S. Tex.,
                                                         remaining seven      W. Tex. and E.
                                                         cases by             Va.
                                                         February 8,



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                                                2011.

6                11/10/10       4 cases         Order became        Includes cases
                                conditionally   final as to three   from N. Fla., S.
                                transferred     cases on            Fla. and S. Tex.
                                                November 17,
                                                2010. Order
                                                became final as
                                                to one case on
                                                February 7,
                                                2011.

7                11/30/10       7 cases         One case            Includes cases
                                conditionally   voluntarily         from N. Fla., W.
                                transferred     dismissed before    La., N. Miss. and
                                                CTO became          S. Tex.
                                                final and
                                                therefore not
                                                transferred.
                                                Order became
                                                final as to four
                                                cases on
                                                December 8,
                                                2010. Order
                                                became final as
                                                to two cases on
                                                February 7,
                                                2011.

8                12/21/10       1 case          Order became        S.D. Ala.
                                conditionally   final on 2/7/11
                                transferred

9                1/20/11        4 cases         Order became        S.D. Tex.
                                conditionally   final as to three
                                transferred     cases on January
                                                27, 2011. Order
                                                became final as
                                                to fourth case on
                                                4/18/11.

10               1/31/11        1 case          Order became        S.D. Tex.
                                conditionally   final on 2/6/11.
                                transferred



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11               2/2/11         1 case          Order became        S.D. Tex.
                                conditionally   final on 2/9/11.
                                transferred

12               2/15/11        1 case          Order became        S.D. Tex.
                                conditionally   final on 2/23/11
                                transferred.

13               3/1/11         2 cases         Order became        N.D. Ala. and
                                conditionally   final on 3/1/11     S.D. Tex.
                                transferred.

14               3/24/11        1 case          Order became        C.D. Cal.
                                conditionally   final on 4/1/11
                                transferred

15               4/4/11         2 cases         One objection       S.D. Ala., D.
                                conditionally   filed staying the   Del.
                                transferred     order as to that
                                                case; order
                                                became final as
                                                to remaining
                                                case on 4/12/11.

16               4/21/11        2 cases         Order became        M.D. Fla., S.D.
                                conditionally   final as to all     Tex.
                                transferred     cases on 8/9/11.

17               4/26/11        4 cases         Order became        S.D. Fla., S.D.
                                conditionally   final on 5/4/11.    Tex., W.D. Tex.
                                transferred

18               5/10/11        3 cases         Order became        S.D. Tex.
                                conditionally   final as to all
                                transferred     cases on 8/9/11.

19               5/13/11        1 case          Order became        S.D. Ala.
                                conditionally   final on 5/23/11.
                                transferred

20               5/13/11        1 case          Order became        S.D. Ala.
                                conditionally   final on 5/23/11.
                                transferred




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21               5/16/11        3 cases         Order become         M.D. La., W.D.
                                conditionally   final on 5/24/11.    La.
                                transferred

22               5/23/11        3 cases         Order became         S.D. Ala., M.D.
                                conditionally   final as to all      La., S.D. Tex.
                                transferred     cases on 8/9/11.

23               6/1/11         9 cases         Nine objections      S.D. Ala., Del.
                                conditionally   filed staying the
                                transferred     order as to all 9
                                                cases.

24               6/14/11        3 cases         Order became         N.D. Fla., W.D.
                                conditionally   final on 6/22/11     La.
                                transferred

25               6/20/11        2 cases         Two objections       N.D Fla., S.D.
                                conditionally   filed staying the    Tex.
                                transferred     order as to both
                                                cases

26               6/28/11        1 case          Order became         S.D. Ala.
                                conditionally   final on 7/6/11
                                transferred

27               6/30/11        2 cases         Two objections       E.D. Ky, S.D.
                                conditionally   filed staying the    Fla.
                                transferred     order as to both
                                                cases

28               7/13/11        2 case          Order became         N.D. Fla., S.D.
                                conditionally   final on 7/21/11     Tex.
                                transferred

29               7/15/11        1 case          Objection filed      M.D. Fla.
                                conditionally   staying the order
                                transferred

30               7/26/11        2 cases         One objection        S.D. Ala., N. D.
                                conditionally   filed, order final   Fla.
                                transferred     as to the other
                                                action on 8/3/11




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31               8/5/11         1 case          Objection filed      S.D. Fla.
                                conditionally   staying the order
                                transferred

32               8/16/11        1 case          Objection filed      S.D. Miss.
                                conditionally   staying the order
                                transferred

33               9/2/11         2 cases         One objection        S.D. Fla., M.D.
                                conditionally   filed, order final   La.
                                transferred     as to other action
                                                on 9/12/11




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